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helping to prepare the next generation of maritime professionals, and would

create a Maritime Career and Technical Education Advisory Committee.5

       It is fair to say that the People of the United States (who are, at least in

theory, the true federal sovereign) have a federal sovereign interest in

“America’s Flagship,” even if the vessel has recently become, as Defendant

repeatedly puts it, Okaloosa County’s “tangible property.” For one thing, of the

$77.7 million that it cost to build her, $44.9 million6 or 57.7% was paid for by

the People of the United States through a combination of national defense

features subsidy and construction differential subsidy. Doc. 12-2 (exhibit to

Amended Complaint consisting of the Historic American Engineering Record

(HAER) for the vessel), at page 3 (pdf page 4 of 13).

       But money alone is only part of the story: the vessel’s unique status as an

American naval-architecture and shipbuilding marvel puts her on a par with such

historical objects as the Liberty Bell. Were the latter to be somehow acquired as

the “tangible property” of a local government that intended to melt the Bell down


       5
         See Pribyl, Tenev, Luzwick, Lehrer, & Martin, “Bipartisan Bill Reintroduced to
Enhance U.S. Shipbuilding, Maritime Sector, National Security” (Holland & Knight Alert),
https://www.hklaw.com/en/insights/publications/2025/05/bipartisan-bill-reintroduced-to-enhance
-us-shipbuilding-maritime, last accessed June 11, 2025.
       6
         It is estimated that 44.9 million dollars in 1952 (the year that the ship was launched)
would be the equivalent of over 540 million dollars today. See, e.g., online converter at
https://www.in2013dollars.com/us/inflation/1952?amount=44900000&endYear=2025.

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